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                  Exhibit 6
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5    Attorneys for Defendants
     ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
6    CO., LIMITED
7

8                                     UNITED STATES DISTRICT COURT
9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                            Case No. 19-CV-07071-SVK
     LLC
12                                                            ONLINENIC, INC.’S RESPONSES
                       Plaintiffs,                            TO PLAINTIFFS’ FIRST SET OF
13           v.                                               REQUESTS FOR ADMISSION
14
     ONLINENIC, INC. and DOMAIN ID
15   SHIELD SERVICE CO., LIMITED.

16                    Defendants.

17

18
     PROPOUNDING PARTY:                          Facebook, Inc. and Instagram, LLC
19
     RESPONDING PARTY:                           OnlineNIC, Inc.
20
     SET NO.:                                    One (1)
21

22
             Defendant OnlineNIC, Inc. (“OnlineNIC”) hereby responds to the Requests for Admission,
23
     Set One propounded by Facebook, Inc. and Instagram, LLC (together, the “Plaintiffs”) as follows:
24
                                            PRELIMINARY STATEMENT
25
             A.       The specific responses as set forth below are for the purposes of discovery only and
26
     OnlineNIC does not intend to waive, but expressly reserves, any and all objections and may have
27
     to the relevance, competence, materiality, admissibility or use at trial of any information,
28
                                                            - 1-
     Facebook, Inc. v. OnlineNIC, Inc.                                                 Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s Responses to Plaintiffs’ Requests for Admission – Set 1
          Case 3:19-cv-07071-SI             Document 359-7            Filed 12/01/23   Page 3 of 5


     REQUEST FOR ADMISSION NO. 17:
1
             Admit that, when DOMAIN ID SHIELD registers a domain name on behalf of an
2
     ONLINENIC customer, DOMAIN ID SHIELD licenses the domain name to that customer.
3
     RESPONSE TO REQUEST NO. 17
4
             Denied.
5
     REQUEST FOR ADMISSION NO. 18:
6
             Admit that Yu Hongxia is also known as Carrie Yu.
7
     RESPONSE TO REQUEST NO. 18
8
             Admitted.
9
     REQUEST FOR ADMISSION NO. 19:
10
             Admit that Yu Honxia is also known as Carrie Arden.
11
     RESPONSE TO REQUEST NO. 19
12
             Admitted.
13
     REQUEST FOR ADMISSION NO. 20:
14
             Admit that Carrie Yu is also known as Carrie Arden.
15
     RESPONSE TO REQUEST NO. 20
16
             Admitted.
17
     REQUEST FOR ADMISSION NO. 21:
18
             Admit that ONLINENIC hires as contractors employees of 35.CN.
19
     RESPONSE TO REQUEST NO. 21
20
             Admitted.
21
     REQUEST FOR ADMISSION NO. 22:
22
             Admit that DOMAIN ID SHIELD hires as contractors employees of 35.CN.
23
     RESPONSE TO REQUEST NO. 22
24
             Denied.
25
     REQUEST FOR ADMISSION NO. 23:
26
             Admit that the day-to-day functions of ONLINENIC are carried out by 35.CN employees.
27
     RESPONSE TO REQUEST NO. 23
28
                                                            - 6-
     Facebook, Inc. v. OnlineNIC, Inc.                                                 Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s Responses to Plaintiffs’ Requests for Admission – Set 1
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     REQUEST FOR ADMISSION NO. 143:
1
             Admit that DOMAIN ID SHIELD is the REGISTRANT of the domain name login-
2
     lnstargram.com.
3
     RESPONSE TO REQUEST NO. 143
4
             Responding party cannot admit or deny, on the grounds that the meaning of the term
5
     “holder” in the 2013 RAA is ambiguous.
6
     REQUEST FOR ADMISSION NO. 144:
7
             Admit that DOMAIN ID SHIELD is the REGISTRANT of the domain name m-facebook-
8
     login.com.
9
     RESPONSE TO REQUEST NO. 144
10
             Responding party cannot admit or deny, on the grounds that the meaning of the term
11
     “holder” in the 2013 RAA is ambiguous.
12
     REQUEST FOR ADMISSION NO. 145:
13
             Admit that DOMAIN ID SHIELD is the REGISTRANT of the domain name singin-
14
     lnstargram.com.
15
     RESPONSE TO REQUEST NO. 145
16
             Responding party cannot admit or deny, on the grounds that the meaning of the term
17
     “holder” in the 2013 RAA is ambiguous.
18

19   As to Objections.

20
                                                        Respectfully Submitted,
21
     DATED: October 16, 2020                            LEXANALYTICA, PC
22

23                                                      By:

24
                                                        Attorneys for Defendants
25                                                      ONLINENIC, INC. and DOMAIN ID SHEILD
                                                        SERVICE CO., LIMITED
26
27

28
                                                           - 27-
     Facebook, Inc. v. OnlineNIC, Inc.                                                 Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s Responses to Plaintiffs’ Requests for Admission – Set 1
       Case 3:19-cv-07071-SI         Document 359-7        Filed 12/01/23      Page 5 of 5




                                            VERIFICATION

       I, YU HONGXIA, am an officer of OnlineNIC, Inc.. and am authorized to sign this

verification. I believe, based on reasonable inquiry, that the foregoing Responses of OnlineNIC,

Inc. to Plaintiffs’ Requests for Requests for Admission, Set 1 – are true and correct to the best of

my knowledge, information and belief.

       I verify under penalty of perjury under the laws of the United States that the foregoing is

       true and correct.



 DATED: October 15, 2020 at Xiamen,          By:
 China
                                                         Yu Hongxia
